                   IN THE UNITED STATES DISTRICT COURT FOR
                       THE WESTERN DISTRICT OF MISSOURI
PATRICK ROMANO, et al.,                   )
                                          )
              Plaintiffs,                 )
                                          )
v.                                        )      Case No. 23-04043-CV-WJE
                                          )
TORCH ELECTRONICS, LLC, et al.,           )
                                          )
              Defendants.                 )


                               ENTRY OF APPEARANCE

       Please note that Todd P. Graves and J. Aaron Craig of Graves Garrett LLC hereby enter

their appearance as counsel for Defendants Torch Electronics, LLC and Steven Miltenberger in

the above referenced matter.




Dated: March 23, 2023                     Respectfully submitted,

                                          GRAVES GARRETT LLC

                                          By: /s/ Todd P. Graves
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                                              LLC and Steven Miltenberger




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 23, 2023, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send a notice of electronic filing to all
counsel of record.


                                                    /s/ Todd P. Graves
                                                   Attorney for Defendants Torch
                                                   Electronics, LLC and Steven Miltenberger




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